                              UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WISCONSIN


KATIE E. GLENN
on behalf of herself and
all others similarly situated,                               Case No. 20-cv-1036

                Plaintiff,                                   COLLECTIVE AND CLASS
                                                             ACTION COMPLAINT
        v.                                                   PURSUANT TO 29 U.S.C. §216(b)
                                                             AND FED. R. CIV. P. 23
PRESBYTERIAN HOMES AND SERVICES
2845 North Hamline Avenue                                    JURY TRIAL DEMANDED
Roseville, MN 55113

                Defendant.


                                          COMPLAINT


                                 PRELIMINARY STATEMENT

        1.      This is a collective and class action brought pursuant to the Fair Labor Standards

Act of 1938, as amended, (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws, Wis.

Stat. § 109.01 et seq., Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code

§ DWD 274.01 et seq., and Wis. Admin. Code § DWD 272.001 et seq. (“WWPCL”) and Fed. R.

Civ. P. 23, by Plaintiff, Katie E. Glenn, on behalf of herself and all other similarly situated

current and former hourly-paid, non-exempt employees of Defendant, Presbyterian Homes and

Services, for purposes of obtaining relief under the FLSA and WWPCL for unpaid overtime

compensation, unpaid agreed upon wages, liquidated damages, costs, attorneys’ fees, declaratory

and/or injunctive relief, and/or any such other relief the Court may deem appropriate.

        2.      Defendant is headquartered in Hamline, Minnesota, and is a privately-owned

company that maintains senior living facilities and offers senior care services.




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       3.      Defendant operated (and continues to operate) an unlawful compensation system

that deprived and failed to compensate Plaintiff and all other current and former hourly-paid,

non-exempt employees for all hours worked and work performed each workweek, including at

an overtime rate of pay for each hour worked in excess of forty (40) hours in a workweek, by:

(1) shaving time (via electronic timeclock rounding) from Plaintiff’s and all other hourly-paid,

non-exempt employees’ weekly timesheets for pre-shift and post-shift hours worked and/or work

performed, to the detriment of said employees and to the benefit of Defendant, in violation of the

FLSA and WWPCL; and (2) failing to include all forms of non-discretionary compensation, such

as monetary bonuses, incentives, awards, and/or other rewards and payments, in all current and

former hourly-paid, non-exempt employees’ regular rates of pay for overtime calculation

purposes, in violation of the FLSA and WWPCL.

       4.      Defendant’s failure to compensate its hourly paid, non-exempt employees for

compensable work performed each workweek, including but not limited to at an overtime rate of

pay, was intentional, willful, and violated federal law as set forth in the FLSA and state law as

set forth in the WWPCL.

                                JURISDICTION AND VENUE

       5.      This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the FLSA, 29 U.S.C. §§ 201, et seq.

       6.      This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over the

state law claims, Wisconsin’s Wage Payment and Collection Laws, Wis. Stat. § 109.01 et seq.,

Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code § DWD 274.01 et

seq., and Wis. Admin. Code § DWD 272.001 et seq., because they are so related in this action




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within such original jurisdiction that they form part of the same case or controversy under Article

III of the United States Constitution.

       7.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c), because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and

Defendant has substantial and systematic contacts in this District.

                                            PARTIES

       8.      Defendant is a Roseville, Minnesota-based company with a principal office

address of 2845 Hamline Avenue North, Roseville, Minnesota 55113.

       9.      For purposes of the FLSA, Defendant was an “employer” of an “employee,”

Plaintiff, as those terms are used in 29 U.S.C. §§ 203(d) and (e).

       10.     For purposes of the FLSA, Defendant was an “employer” of Plaintiff, and

Plaintiff was “employed” by Defendant, as those terms or variations thereof are used in Wis.

Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       11.     Plaintiff, Katie E. Glenn, is an adult female resident of the State of Wisconsin

residing at 530 Partridge Court, Sullivan, Wisconsin 53178.

       12.     Plaintiff’s Notice of Consent to Join this collective action pursuant to 29 U.S.C.

§ 216(b) is contemporaneously filed with this Complaint (ECF No. 1).

       13.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant owned, operated, and managed physical locations in the

States of Minnesota, Iowa, and Wisconsin, including but not limited to a locations in

Germantown, Hudson, Menomonee Falls, New Richmond, Oconomowoc, Pewaukee, and

Waukesha, Wisconsin.




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          14.   During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff worked as an hourly-paid, non-exempt employee in the

position of Home Care Services Coordinator at Defendant’s Oconomowoc, Wisconsin facility,

located at 1205 East Lisbon Road, Oconomowoc, Wisconsin 53066.

          15.   During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff worked alongside all other hourly-paid, non-exempt employees

at Defendant’s Oconomowoc, Wisconsin location as part of Defendant.

          16.   During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff primarily performed compensable work at Defendant’s

Oconomowoc, Wisconsin location at Defendant’s direction, on Defendant’s behalf, for

Defendant’s benefit, and/or with Defendant’s knowledge.

          17.   Plaintiff brings this action on behalf of herself and all other similarly-situated

current and former hourly-paid, non-exempt employees who work at, worked at, and/or were

employed by Defendant within the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1). Plaintiff performed similar job duties as other current and former

hourly-paid, non-exempt employees who work at, worked at, and/or were employed by

Defendant, and Plaintiff and all other current and former hourly-paid, non-exempt employees

were subject to Defendant’s same unlawful compensation policies and practices as enumerated

herein.

          18.   During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other current and former hourly-paid, non-exempt

employees on whose behalf they bring this Complaint performed compensable work in the same

or similarly-titled positions subject to Defendant’s same unlawful compensation policies and




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practices as enumerated herein at Defendant’s direction, on Defendant’s behalf, for Defendant’s

benefit, and/or with Defendant’s knowledge at facilities or locations that were owned, operated,

and managed by Defendant.

       19.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant supervised Plaintiff’s day-to-day activities and the day-to-

day activities of all other hourly-paid, non-exempt employees.

       20.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant hired, terminated, promoted, demoted, and suspended

Plaintiff and all other hourly-paid, non-exempt employees.

       21.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant reviewed Plaintiff’s work performance and the work

performance of all other hourly-paid, non-exempt employees.

       22.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant established Plaintiff’s work schedule and the work schedules

of all other hourly-paid, non-exempt employees.

       23.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant established Plaintiff’s and all other hourly-paid, non-exempt

employees’ hourly rates of pay and means of compensation.

       24.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant provided Plaintiff and all other hourly-paid, non-exempt

employees with work assignments and hours of work.




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       25.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s hours of work and the hours of work of all other hourly-paid,

non-exempt employees were tracked and recorded by Defendant.

       26.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant established the work rules, policies, and procedures by which

Plaintiff and all other hourly-paid, non-exempt employees abided in the workplace.

       27.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant controlled the terms and conditions of Plaintiff’s

employment and the employment of all other hourly-paid, non-exempt employees.

       28.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), the work rules, policies, and procedures by which Plaintiff and all other

hourly-paid, non-exempt employees abided in the workplace were embodied in Defendant’s

“Employee Handbook,” which stated, in part, that it “applies to all full time, part time, on call,

and casual … employees,” and that such employees “are expected to be on the job ready to work

at the time scheduled. … Except for breaks, you must remain on duty at your work site for your

entire work period.”

                                 GENERAL ALLEGATIONS

       29.     On or about January 13, 2020, Defendant hired Plaintiff into the position of Home

Care Services Coordinator working at Defendant’s Oconomowoc, Wisconsin location.

       30.     In approximately September 2020, Plaintiff’s employment with Defendant ended.

       31.     During the entirety of Plaintiff’s employment with Defendant, Defendant

compensated Plaintiff on an hourly basis and/or with an hourly rate of pay.




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       32.      During the entirety of Plaintiff’s employment with Defendant, Plaintiff was a non-

exempt employee for purposes of the FLSA and WWPCL.

       33.      On a daily basis during Plaintiff’s employment with Defendant, Plaintiff worked

alongside other hourly-paid, non-exempt employees as part of Defendant’s caregiving services at

Defendant’s Oconomowoc, Wisconsin location.

       34.      On a daily basis during Plaintiff’s employment with Defendant, Plaintiff

performed compensable work at Defendant’s direction, on Defendant’s behalf, for Defendant’s

benefit, and/or with Defendant’s knowledge as an hourly-paid, non-exempt employee at

Defendant’s Oconomowoc, Wisconsin location.

       35.      During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees were employed by

Defendant in hourly-paid, non-exempt job positions and performed compensable work on

Defendant’s behalf, with Defendant’s knowledge, for Defendant’s benefit, and/or at Defendant’s

direction.

       36.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees regularly

worked in excess of forty (40) hours per workweek.

       37.      During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant knew or had knowledge that Plaintiff and all other hourly-paid, non-

exempt employees worked in excess of forty (40) hours per workweek.

       38.      During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant compensated Plaintiff and all other hourly-paid, non-exempt

employees on a bi-weekly basis via check.




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       39.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s workweek for FLSA and WWPCL purposes was Sunday at

12:01 a.m. through Saturday at 12:00 a.m.

       40.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees were non-

union employees of Defendant.

       41.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all current and former hourly-paid, non-exempt employees were

subject to Defendant’s same unlawful policy, practice, custom, and/or scheme of shaving time

(via electronic timeclock rounding) from Plaintiff’s and all other hourly-paid, non-exempt

employees’ weekly timesheets for pre-shift and post-shift hours worked and/or work performed,

to the detriment of said employees and to the benefit of Defendant.

       42.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all current and former hourly-paid, non-exempt employees were

subject to Defendant’s same unlawful policy, practice, custom, and/or scheme of failing to

include all forms of non-discretionary compensation, such as monetary bonuses, incentives,

awards, and/or other rewards and payments, in their regular rates of pay for overtime purposes in

violation of the FLSA and WWPCL.

       43.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees were subject

to Defendant’s same pay and timekeeping policies and practices.




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       44.    During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant tracked and/or recorded Plaintiff’s and all other hourly-paid, non-

exempt employees’ hours worked each workweek.

       45.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant maintained an electronic time-clock system (hereinafter

simply “Defendant’s electronic timekeeping system”) that Plaintiff and all other hourly-paid,

non-exempt employees used on a daily basis for timekeeping and/or recordkeeping purposes.

       46.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees used

Defendant’s electronic timekeeping system on a daily basis for timekeeping and/or

recordkeeping purposes.

       47.    During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained employment records and other documentation regarding

Plaintiff and all other hourly-paid, non-exempt employees.

       48.    During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained a centralized system for tracking and/or recording hours

worked by Plaintiff and all other hourly-paid, non-exempt employees.

       49.    During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained a centralized system for compensating Plaintiff and all other

hourly-paid, non-exempt employees for all remuneration earned, including but not limited to

with monetary bonuses, incentives, awards, and/or other rewards and payments.

       50.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees used




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Defendant’s electronic timekeeping system to “clock in” and to “clock out” of work each day at

the beginning and end of their shifts, respectively.

       51.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees performed

compensable work immediately after “clocking in” via Defendant’s electronic timekeeping

system at the beginning of their shifts each work day.

       52.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees performed

compensable work immediately prior to “clocking out” via Defendant’s electronic timekeeping

system at the end of their shifts each work day.

       53.     Each work day during the three (3) year period immediately preceding the filing

of this Complaint (ECF No. 1), Defendant required Plaintiff and all other hourly-paid, non-

exempt employees to record their hours worked and work performed by “clocking in” at the

beginning of their shifts (when compensable work commenced) and “clocking out” at the end of

their shifts (when compensable work ceased) via Defendant’s electronic timekeeping system.

       54.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees used

Defendant’s electronic timekeeping system to record all hours worked and work performed each

work day and each workweek.

       55.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s and all other hourly-paid, non-exempt employees’ “clock in”

and “clock out” times each work day via Defendant’s electronic timekeeping system were kept,

stored, and/or retained by Defendant.




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       56.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Plaintiff’s and all other hourly-paid, non-exempt employees’ “clock in”

and “clock out” times each work day via Defendant’s electronic timekeeping system recorded,

reflected, and represented the actual hours worked and work performed each work day and each

workweek by Plaintiff and all other hourly-paid, non-exempt employees.

       57.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s pay policies and practices failed to compensate Plaintiff

and all other hourly-paid, non-exempt employees for all hours actually worked and/or work

performed each work day and each workweek as recorded, reflected, and represented via

Defendant’s electronic timekeeping system.

       58.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s compensation practice applicable to Plaintiff and all other

hourly-paid, non-exempt employees was to round said employees’ actual hours worked and/or

work performed each work day as recorded, reflected, and represented via Defendant’s electronic

timekeeping system in intervals of fifteen (15) minutes.

       59.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s compensation practice applicable to Plaintiff and all other

hourly-paid, non-exempt employees was to round said employees’ actual hours worked and/or

work performed each work day as recorded, reflected, and represented via Defendant’s electronic

timekeeping system in the following manner: forward in intervals of fifteen (15) minutes prior to

said employees’ scheduled shift start times and backwards in intervals of fifteen (15) minutes

after said employees’ scheduled shift end times. Such a practice during the three (3) year period

immediately preceding the filing of this Complaint (ECF No. 1) resulted in Defendant shaving




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time from Plaintiff’s and all other hourly-paid, non-exempt employees’ timesheets each work

day and each workweek for pre-shift and post-shift hours worked and/or work performed while

“clocked in” via Defendant’s electronic timekeeping system in a non-neutral manner – that is, to

the detriment of said employees and to the benefit of Defendant.

       60.    As an example, on August 24, 2020, Plaintiff punched in at 5:59 a.m. and

punched out at 2:07 p.m. Defendant’s electronic timekeeping system rounded her punch in time

to 6:00 a.m. and her punch out time to 2:00 p.m.

       61.    As another example, on September 1, 2020, Plaintiff punched in at 3:08 a.m. and

punched out 9:35 a.m. However, Defendant’s electronic timekeeping system rounded her punch

in time forward to 3:15 a.m. and her punch out time to 9:30 a.m.

       62.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant shaved time from Plaintiff’s and all other hourly-paid, non-

exempt employees’ timesheets each work day and each workweek for pre-shift and post-shift

compensable work performed by failing to compensate Plaintiff and all other hourly-paid, non-

exempt employees when compensable work commenced each work day (as recorded, reflected,

and represented via Defendant’s electronic timekeeping system); instead, during the three (3)

year period immediately preceding the filing of this Complaint (ECF No. 1), Defendant

compensated Plaintiff and all other hourly-paid, non-exempt employees based on the rounded

times each workweek via its electronic timekeeping system in a non-neutral manner – that is, to

the detriment of said employees and to the benefit of Defendant.

       63.    During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s pay policies and practices failed to compensate Plaintiff

and all other hourly-paid, non-exempt employees for work performed each work day as




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described herein despite Defendant having an actual and accurate record of said employees’ pre-

shift and post-shift hours worked and/or work performed via its electronic timekeeping system.

       64.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s policies in practice failed to compensate Plaintiff and all other hourly-

paid, non-exempt employees at the correct and lawful overtime rate of pay for all hours worked

and work performed in excess of forty (40) hours in a workweek.

       65.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant knew and/or was aware that its pay policies and practices

failed to compensate Plaintiff and all other hourly-paid, non-exempt employees for all pre-shift

and post-shift compensable work performed as described herein despite having a record of all

hours worked and work performed each work day and each workweek via its electronic

timekeeping system.

       66.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant did not properly and lawfully compensate Plaintiff and all

other hourly-paid, non-exempt employees for all hours actually worked and/or work performed

each work day and each workweek, including but not limited to at an overtime rate of pay.

       67.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1), Defendant’s policies in practice unlawfully and impermissibly failed to,

on a daily and/or weekly basis, compensate Plaintiff and all other hourly-paid, non-exempt

employees when compensable work commenced and ceased each work day.

       68.     During the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1) and during workweeks when no overtime was due, if any, Defendant

suffered or permitted Plaintiff and all other hourly-paid, non-exempt employees to work without




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being paid appropriate and lawful compensation for all hours worked and/or work performed

each work day and each workweek.

       69.     Defendant was or should have been aware that its compensation policies in

practice failed to compensate Plaintiff and all other hourly-paid, non-exempt employees in the

same or similar fashion for all hours worked and/or work performed each work day and each

workweek, including but not limited to at an overtime rate of pay.

              COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       70.     Plaintiff brings this action on behalf of herself and all other similarly situated

employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

include:

               FLSA Collective (Timeshaving): All hourly-paid, non-exempt
               employees employed by Defendant within the three (3) years
               immediately preceding the filing of this Complaint (ECF No. 1)
               who have not been compensated for all hours worked in excess of
               forty (40) hours in a workweek as a result of Defendant shaving
               time from said employees’ timesheets each work day and each
               workweek for pre-shift and post-shift hours worked and/or work
               performed while “clocked in” via Defendant’s electronic
               timekeeping system.

               FLSA Collective (Non-Discretionary Compensation): All
               hourly-paid, non-exempt employees employed by Defendant
               within the three (3) years immediately preceding the filing of this
               Complaint (ECF No. 1) who have not been compensated for all
               hours worked in excess of forty (40) hours in a workweek at the
               proper, correct, and/or lawful overtime rate of pay as a result of
               Defendant’s failure to include all forms of non-discretionary
               compensation in said employees’ regular rates of pay for overtime
               calculation purposes.

       71.     Plaintiff and the FLSA Collectives primarily performed non-exempt job duties

each workweek and, thus, were legally entitled to overtime pay for all hours worked in excess of

forty (40) in a workweek.




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       72.     Plaintiff and the FLSA Collectives were compensated on an hourly basis (and not

on a salary basis) each workweek and, thus, were legally entitled to overtime pay for all hours

worked in excess of forty (40) in a workweek.

       73.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant, as a matter of policy and practice, shaved time from the FLSA

Collective’s (Timeshaving) timesheets for all pre-shift and post-shift hours worked and/or work

performed each work day while “clocked in” via Defendant’s electronic timekeeping system in a

non-neutral manner – that is, to the detriment of said employees and to the benefit of Defendant.

These practices resulted in Plaintiff and the FLSA Collective (Timeshaving) being denied

overtime compensation by Defendant at the rate of one and one-half times their regular hourly

rate of pay for hours worked in excess of forty (40) in a workweek.

       74.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant compensated Plaintiff and the FLSA Collective (Non-Discretionary

Compensation) with, in addition to an hourly or regular rate(s) of pay, other forms of non-

discretionary compensation – such as performance-based and/or attendance-based monetary

bonuses and incentives, awards, and/or other rewards and payments – on a bi-weekly, monthly,

quarterly, annual, and/or ad hoc basis.

       75.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), the monetary compensation – such as performance-based and/or attendance-based

monetary bonuses and incentives, awards, and/or other rewards and payments – that Defendant

provided to Plaintiff and the FLSA Collective (Non-Discretionary Compensation) was non-

discretionary in nature: it was made pursuant to a known plan (performance or productivity) or

formula and/or was announced and known to Plaintiff and the FLSA Collective (Non-




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Discretionary Compensation) to encourage and/or reward their steady, rapid, productive, reliable,

safe, consistent, regular, predictable, continued, and/or efficient work performance and/or hours

worked.

       76.     During the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s pay policies and practices failed to include all forms of non-

discretionary compensation – such as monetary bonuses, incentives, awards, and/or other

rewards and payments – in Plaintiff’s and the FLSA Collective’s (Non-Discretionary

Compensation) regular rate(s) of pay for overtime calculation and compensation purposes during

workweeks when said employees worked more than forty (40) hours during the representative

time period that the monetary bonuses, incentives, awards, and/or other rewards and payments

covered.

       77.     The First and Second Claims for Relief are brought under and maintained as opt-

in Collective Actions pursuant to § 216(b) of the FLSA, 29 U.S.C. 216(b), by Plaintiff on behalf

of the FLSA Collectives.

       78.     The FLSA Collective claims may be pursued by those who affirmatively opt into

this case, pursuant to 29 U.S.C. § 216(b).

       79.     Plaintiff and the FLSA Collectives are and have been similarly situated, have and

have had substantially similar job requirements and pay provisions, and are and have been

subject to Defendant’s decisions, policies, plans and programs, practices, procedures, protocols,

routines, and rules willfully failing and refusing to compensate them for each hour worked

including overtime compensation. The claims of Plaintiff as stated herein are the same as those

of the FLSA Collectives.




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       80.     Plaintiff and the FLSA Collectives seek relief on a collective basis challenging,

among other FLSA violations, Defendant’s practice of failing to properly and lawfully

compensate employees for all work performed and/or hours worked at the correct and lawful

overtime rate of pay each workweek, in violation of the FLSA.

       81.     Defendant was or should have been aware that its unlawful practices failed to

compensate and deprived Plaintiff and the FLSA Collectives of the appropriate and lawful

overtime wages and compensation due and owing to them, in violation of the FLSA.

       82.     The FLSA Collectives are readily ascertainable. For purpose of notice and other

purposes related to this action, the names, phone numbers, and addresses are readily available

from Defendant. Notice can be provided to the FLSA Collectives via first class mail to the last

address known by Defendant and through posting at Defendant’s facility in areas where postings

are normally made.

       83.     Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith,

and has caused significant damages to Plaintiff and the putative FLSA Collectives.

                     RULE 23 CLASS ALLEGATIONS - WISCONSIN

       84.     Plaintiff brings this action on behalf of herself and all other similarly situated

employees pursuant to the WWPCL, under Fed. R. Civ. P. 23. The similarly situated employees

include:

               WWPCL Class (Timeshaving): All hourly-paid, non-exempt
               employees employed by Defendant within the two (2) years
               immediately preceding the filing of this Complaint (ECF No. 1)
               through the date of judgment who have not been compensated for
               all hours worked each workweek -- at either a regular rate of pay
               or at an overtime rate of pay for hours worked in excess of forty
               (40) hours in a workweek – as a result of Defendant shaving time
               from said employees’ timesheets each work day and each
               workweek for pre-shift and post-shift hours worked and/or work




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              performed while “clocked in” via Defendant’s electronic
              timekeeping system.

              WWPCL Class (Non-Discretionary Compensation): All hourly-
              paid, non-exempt employees employed by Defendant within the
              two (2) years immediately preceding the filing of this Complaint
              (ECF No. 1) through the date of judgment who have not been
              compensated for all hours worked in excess of forty (40) hours in a
              workweek at the proper, correct, and/or lawful overtime rate of pay
              as a result of Defendant’s failure to include all forms of non-
              discretionary compensation in said employees’ regular rates of pay
              for overtime calculation purposes.

       85.    The members of the Wisconsin Classes are readily ascertainable. The number and

identity of the members of the Wisconsin Classes are determinable from the records of

Defendant. The job titles, length of employment, and the rates of pay for each member of the

Wisconsin Classes are also determinable from Defendant’s records. For purposes of notice and

other purposes related to this action, their names and addresses are readily available from

Defendant. Notice can be provided by means permissible under Fed. R. Civ. P. 23.

       86.    The proposed Wisconsin Classes are so numerous that joinder of all members is

impracticable, and more importantly the disposition of their claims as a class will benefit the

parties and the Court. Although the precise number of such persons is unknown, upon

information and belief, there are over fifty (50) members of each of the Wisconsin Classes.

       87.    Plaintiff’s claims are typical of those claims which could be alleged by any

members of the Wisconsin Classes, and the relief sought is typical of the relief which would be

sought by each member of the Wisconsin Classes in separate actions. All of the members of the

Wisconsin Classes were subject to the same corporate practices of Defendant, as alleged herein.

Defendant’s corporate-wide policies and practices affected all members of the Wisconsin Classes

similarly, and Defendant benefited from the same type of unfair and/or wrongful acts as to each

member of the Wisconsin Classes. Plaintiff and other members of the Wisconsin Classes




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sustained similar losses, injuries and damages arising from the same unlawful policies and

practices and procedures.

       88.     Plaintiff is able to fairly and adequately protect the interests of the Wisconsin

Classes and has no interests antagonistic to the Wisconsin Classes. Plaintiff is represented by

counsel who are experienced and competent in both collective/class action litigation and

employment litigation and have previously represented plaintiffs in wage and hour cases.

       89.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a number of similarly situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual Wisconsin Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual members

of the Wisconsin Classes to redress the wrongs done to them.

       90.     Important public interests will be served by addressing the matter as a class

action. The adjudication of individual litigation claims would result in a great expenditure of

Court and public resources; however, treating the claims as a class action would result in a

significant saving of these costs. The prosecution of separate actions by individual members of

the Wisconsin Classes would create a risk of inconsistent and/or varying adjudications with

respect to the individual members of the Wisconsin Classes, establishing incompatible standards

of conduct for Defendant and resulting in the impairment of class members’ rights and the




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disposition of their interests through actions to which they were not parties. The issues in this

action can be decided by means of common, class-wide proof. In addition, if appropriate, the

Court can, and is empowered to, fashion methods to efficiently manage this action as a class

action.

          91.   Defendant has violated the WWPCL regarding payment of regular wages and

overtime wages. Current employees are often afraid to assert their rights out of fear of direct or

indirect retaliation. Former employees are fearful of bringing claims because doing so can harm

their employment, future employment, and future efforts to secure employment. Class actions

provide class members who are not named in the Complaint a degree of anonymity which allows

for the vindication of their rights while eliminating or reducing these risks.

          92.   There are questions of fact and law common to the Wisconsin Classes that

predominate over any questions affecting only individual members. The questions of law and

fact common to the Wisconsin Classes arising from Defendant’s actions include, without

limitation, the following: (1) Whether the work performed by Plaintiff and the Wisconsin Classes

is compensable under federal law and/or Wisconsin law; (2) Whether Defendant engaged in a

pattern or practice of forcing, coercing, deceiving and/or permitting Plaintiff and the Wisconsin

Classes to perform work for Defendant’s benefit without being properly compensated;

(3) Whether Defendant failed to pay Plaintiff and the Wisconsin Classes for all work Defendant

suffered or permitted them to perform each work day and each workweek; (4) Whether

Defendant provided the Wisconsin Classes with forms of non-discretionary compensation, and

whether Defendant failed to include these forms of non-discretionary compensation in the

Wisconsin Class’ regular rates of pay for overtime calculation purposes; and (5) The nature and

extent of class-wide injury and the measure of damages for the injury.




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       93.      The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of the state law claims.

                                  FIRST CLAIM FOR RELIEF
                        Violations of the FLSA – Unpaid Overtime Wages
             (Plaintiff on behalf of herself and the FLSA Collective - Timeshaving)

       94.      Plaintiff, on behalf of herself and the FLSA Collective, reassert and incorporate

by reference all paragraphs set forth above as if restated herein.

       95.      At all times material herein, Plaintiff and the FLSA Collective have been entitled

to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

       96.      At all times material herein, Defendant was an employer of Plaintiff and the

FLSA Collective as provided under the FLSA.

       97.      At all times material herein, Plaintiff and the FLSA Collective were employees of

Defendant as provided under the FLSA.

       98.      Plaintiff and the FLSA Collective are victims of uniform compensation policy and

practice in violation of the FLSA.

       99.      Defendant violated the FLSA by suffering or permitting Plaintiff and the FLSA

Collective to perform work without being properly or lawfully compensated for each hour

worked in excess of forty (40) hours each workweek. Specifically, Defendant’s unlawful

compensation practice shaved time from the FLSA Collective’s timesheets for all pre-shift and

post-shift hours worked and/or work performed while “clocked in” via Defendant’s electronic

timekeeping system in a non-neutral manner – that is, to the detriment of said employees and to

the benefit of Defendant. By failing to compensate the FLSA Collective in such a fashion as




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described herein, this unlawful compensation practice denied Plaintiff and the FLSA Collective

overtime premium pay for each hour they worked in excess of forty (40) hours each workweek

and for which Defendant is liable pursuant to 29 U.S.C. § 216(b).

       100.    The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods

for commerce, or employed in an enterprise engaged in commerce or in the production of goods

for commerce. 29 U.S.C. § 207(a)(1).

       101.    Defendant was and is subject to the overtime pay requirements of the FLSA

because Defendant is an enterprise engaged in commerce and/or its employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. § 203(b).

       102.    Defendant’s failure to properly compensate Plaintiff and the FLSA Collective and

failure to properly record all compensable work time was willfully perpetrated. Defendant has

not acted in good faith and with reasonable grounds to believe that its actions and omissions

were not a violation of the FLSA, and as a result thereof, Plaintiff and the FLSA Collective are

entitled to recover an award of liquidated damages in an amount equal to the amount of unpaid

overtime premium pay described above pursuant to Section 216(b) of the FLSA, 29 U.S.C. §

216(b). Alternatively, should the Court find that Defendant did not act willfully in failing to pay

overtime premium pay wages, Plaintiff and the FLSA Collective are entitled to an award of pre-

judgment interest at the applicable legal rate.

       103.    Plaintiff and the FLSA Collective are entitled to damages equal to the mandated

overtime premium pay within the three (3) years preceding the date of filing of this Complaint,

plus periods of equitable tolling because Defendant acted willfully and knew or showed reckless

disregard of whether its conduct was prohibited by the FLSA.




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       104.    Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages and overtime wages.

                                  SECOND CLAIM FOR RELIEF
                          Violations of the FLSA – Unpaid Overtime Wages
(Plaintiff on behalf of herself and the FLSA Collective – Non-Discretionary Compensation)

       105.    Plaintiff, on behalf of herself and the FLSA Collective, reasserts and incorporates

by reference all paragraphs set forth above as if restated herein.

       106.    At all times material herein, Plaintiff and the FLSA Collective have been entitled

to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

       107.    At all times material herein, Defendant was an employer of Plaintiff and the

FLSA Collective as provided under the FLSA.

       108.    At all times material herein, Plaintiff and the FLSA Collective were employees of

Defendant as provided under the FLSA.

       109.    Plaintiff and the FLSA Collective are victims of uniform compensation policy and

practice in violation of the FLSA.

       110.    Defendant violated the FLSA by failing to account for and compensate Plaintiff

and the FLSA Collective for overtime premium pay at the proper and correct overtime rate of

pay for each hour worked in excess of forty (40) hours each workweek. Specifically, Defendant’s

unlawful compensation practice failed to include all forms of non-discretionary compensation,

such as monetary bonuses, incentives, awards, and/or other rewards and payments, in the FLSA

Collective’s regular rates of pay for overtime calculation purposes.

       111.    The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods




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for commerce, or employed in an enterprise engaged in commerce or in the production of goods

for commerce. 29 U.S.C. § 207(a)(1).

       112.    Defendant was (and is) subject to the overtime pay requirements of the FLSA

because Defendant is an enterprise engaged in commerce and/or its employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. § 203(b).

       113.    Defendant’s failure to properly compensate Plaintiff and the FLSA Collective and

failure to properly include all forms of non-discretionary compensation in the regular rate of pay

for overtime calculations purposes was willfully perpetrated. Defendant also has not acted in

good faith and with reasonable grounds to believe its actions and omissions were not a violation

of the FLSA, and as a result thereof, Plaintiff and the FLSA Collective are entitled to recover an

award of liquidated damages in an amount equal to the amount of unpaid overtime premium pay

described above pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b). Alternatively,

should the Court find that Defendant acted in good faith or with reasonable grounds in failing to

pay overtime premium pay wages, Plaintiff and the FLSA Collective are entitled to an award of

pre-judgment interest at the applicable legal rate.

       114.    As a result of the aforesaid willful violations of the FLSA’s provisions, overtime

compensation has been unlawfully withheld by Defendant from Plaintiff and the FLSA

Collective for which Defendant is liable pursuant to 29 U.S.C. § 216(b).

       115.    Plaintiff and the FLSA Collective are entitled to damages equal to the mandated

overtime premium pay within the three (3) years preceding the date of filing of this Complaint,

plus periods of equitable tolling because Defendant acted willfully and knew or showed reckless

disregard of whether its conduct was prohibited by the FLSA.




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       116.    Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages and overtime wages.

                                THIRD CLAIM FOR RELIEF
                     Violation of the WWPCL – Unpaid Overtime Wages
           (Plaintiff, on behalf of herself and the Wisconsin Class – Timeshaving)

       117.    Plaintiff, on behalf of herself and the Wisconsin Class, re-allege and incorporate

all previous paragraphs as if they were set forth herein.

       118.    At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a).

       119.    At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       120.    At all relevant times, Defendant has employed, and continues to employ, Plaintiff

and the Wisconsin Class within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq.,

104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       121.    Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       122.    At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class regular wages and overtime compensation.

       123.    Throughout the Wisconsin Class Period, Defendant maintained and perpetrated an

unlawful compensation practice that shaved time from Plaintiff’s and the Wisconsin Class’




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 timesheets for all pre-shift and post-shift hours worked and/or work performed while “clocked

 in” via Defendant’s electronic timekeeping system each work day and each workweek in a non-

 neutral manner – that is, to the detriment of said employees and to the benefit of Defendant –

 resulting in Defendant impermissibly and unlawfully failing to compensate Plaintiff and the

 Wisconsin Class for any and all hours worked and/or work performed each work day and each

 workweek at an overtime rate of pay, in violation of the WWPCL.

          124.   Defendant willfully failed to pay Plaintiff and the Wisconsin Class overtime

 premium compensation for all hours worked in excess of forty (40) hours a workweek, in

 violation of the WWPCL.

          125.   As set forth above, Plaintiff and the Wisconsin Class members have sustained

 losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

 Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

 compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

 Wisconsin laws described herein and to comply with them, and such other legal and equitable

 relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

 Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

 wages.

          126.   Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

 this action to be paid by Defendant pursuant to the WWPCL.

                                 FOURTH CLAIM FOR RELIEF
                      Violation of the WWPCL – Unpaid Overtime Wages
(Plaintiff, on behalf of herself and the Wisconsin Class – Non-Discretionary Compensation)

          127.   Plaintiff, on behalf of herself and the Wisconsin Class, re-allege and incorporate

 all previous paragraphs as if they were set forth herein.




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       128.    At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a).

       129.    At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       130.    At all relevant times, Defendant has employed, and continues to employ, Plaintiff

and the Wisconsin Class within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq.,

104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       131.    Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       132.    At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class regular wages and overtime compensation.

       133.    Throughout the Wisconsin Class Period, Defendant maintained and perpetrated an

unlawful compensation practice that failed to include all forms of non-discretionary

compensation, such as monetary bonuses, incentives, awards, and/or other rewards and

payments, in the Wisconsin Class’ regular rates of pay for overtime calculation purposes, in

violation of the WWPCL.

       134.    Defendant willfully failed to pay Plaintiff and the Wisconsin Class overtime

premium compensation for all hours worked in excess of forty (40) hours a workweek, in

violation of the WWPCL.




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         135.   As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

wages.

         136.   Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendant pursuant to the WWPCL.

                                FIFTH CLAIM FOR RELIEF
Violation of the WWPCL – Unpaid Regular Wages / Failure to Pay an Agreed-Upon Wage
          (Plaintiff, on behalf of herself and the Wisconsin Class – Timeshaving)

         137.   Plaintiff, on behalf of herself and the Wisconsin Class, re-alleges and incorporates

all previous paragraphs as if they were set forth herein.

         138.   At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a).

         139.   At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

         140.   At all relevant times, Defendant has employed, and continues to employ, Plaintiff

and the Wisconsin Class within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq.,

104.01 et seq., and Wis. Admin. Code § DWD 272.01.




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       141.    Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       142.    At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class regular wages and overtime compensation.

       143.    Throughout the Wisconsin Class Period, the Wisconsin Class was entitled to

payments from Defendant at their agreed upon wage, as defined in Wis. Stat. § 109.01(3), for

each hour worked, pursuant to Wis. Stat. § 109.03.

       144.    Throughout the Wisconsin Class Period, Defendant did not compensate the

Wisconsin Class for each and every hour worked, in accordance with Wis. Admin. Code § DWD

272.

       145.    Throughout the Wisconsin Class Period, Defendant maintained and perpetrated an

unlawful compensation practice that shaved time from Plaintiff’s and the Wisconsin Class’

timesheets for all pre-shift and post-shift hours worked and/or work performed while “clocked

in” via Defendant’s electronic timekeeping system each work day and each workweek in a non-

neutral manner – that is, to the detriment of said employees and to the benefit of Defendant –

resulting in Defendant impermissibly and unlawfully failing to compensate Plaintiff and the

Wisconsin Class for any and all hours worked and/or work performed each work day and each

workweek at their regular hourly rate of pay when hours worked each workweek did not exceed

forty (40), in violation of the WWPCL.




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         146.   Defendant willfully failed to pay Plaintiff and the Wisconsin Class compensation

for all hours worked that did not exceed forty (40) hours in a workweek, in violation of the

WWPCL.

         147.   As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

wages.

         148.   Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendant pursuant to the WWPCL.

         WHEREFORE, it is respectfully prayed that this Court grant the following relief:

            a) At the earliest possible time, issue an Order allowing Notice, or issue such Court
               supervised Notice, to all similarly-situated current and former hourly-paid, non-
               exempt employees who worked at and/or were employed by Defendant informing
               them of this action and their rights to participate in this action. Such Notice shall
               inform all similarly situated current and qualified former employees of the
               pendency of this action, the nature of this action, and of their right to “opt in” to
               this action. Additionally, such notice will include a statement informing the
               similarly situated current and qualified former employees that it is illegal for
               Defendant to take any actions in retaliation of their consent to join this action;

            b) At the earliest possible time, issue an Order certifying this action as a class action
               pursuant to Federal Rules of Civil Procedure 23;

            c) At the earliest possible time, issue an Order appointing Walcheske & Luzi, LLC
               as class counsel pursuant to Federal Rules of Civil Procedure 23;

            d) Issue an Order, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-
               2202, declaring Defendant’s actions as described in the Complaint as unlawful




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             and in violation of the FLSA and Wisconsin Law and applicable regulations and
             as willful as defined in the FLSA and Wisconsin Law;

          e) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt employees damages in the form of
             reimbursement for unpaid overtime wages and/or regular wages for all time spent
             performing compensable work for which they were not paid pursuant to the rate
             provided by the FLSA and WWPCL;

          f) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt employees liquidated damages
             pursuant to the FLSA and WWPCL in an amount equal to, and in addition to the
             amount of wages and overtime wages owed to them;

          g) Issue an Order directing Defendant to reimburse Plaintiff and all other similarly
             situated hourly-paid, non-exempt employees for the costs and attorneys’ fees
             expended in the course of litigating this action, pre-judgment and post-judgment
             interest; and

          h) Provide Plaintiff and all other similarly situated hourly-paid, non-exempt
             employees with other relief that the Court deems just and equitable.

             PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

             Dated this 17th day of November, 2020

                                                  WALCHESKE & LUZI, LLC
                                                  Counsel for Plaintiff


                                                  s/ James A. Walcheske                      .




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